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IN THE UNITED STATES DISTRICT COURT FOR THEAPR 3 0 2[]14

NORTHERN DISTRICT OF OKLAHOMA Ph" Lombardil C|erk

U.S. DlSTRlCT COURT
J]lVI LEE REMER,

Plaintiff, No.

 

VS.

HARTFORD LIFE AND ACCIDENT
INSURANCE COMPANY,
Defendant.

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COMPLAINT

1. Plaintiff`, J im Lee Remer (Remer) brings this cause of action against
Hartford Life and Accident lnsurance Company (Hartford) for violation of the
Employment and Retirement Income Security act of 1974, as amended, 29 U.S.C.
Section 1001 , et seq. (ERISA). Remer, an employee of American Airlines, was a
participant in a “Welfare Benefit Plan Providing Group Long Term Disability”,
pursuant to the terms of a “Group Long Term Disability Plan for Employees of
TRANSPORT WORKERS UNION OF AMERICA” , as set forth at Page 34 in
Policy No. GLT395086, (the Policy). This Complaint challenges the Defendant
Hartford’s unlawful denial of Plaintiff Remer’s request for long term disability
benefits despite clear and reasonable medical evidence demonstrating Remer’s
qualification for such benefits, and in absence of credible evidence controverting
same. Remer is Hling this action to recover benefits due under the policy, to

enforce his rights thereunder, and to recover costs and attorney fee as provided by

ERISA.

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2. This action arises as a result on an industrial accident occurring on
November 15, 2010 at the American Airlines Maintenance and Repair Facility in
Tulsa Oklahoma. On that date Plaintiff, employed as a full time agent/
employee /servant of American Airlines, while working in the course of his
employment and agency, slipped and fell in water that had been placed or spilled
on the floor by another employee, injuring his back, neck, knees, hip, and elbow,
with associated numbness in fingers and toes, severe headaches, and loss of
perception, reasoning ability and memory. Plaintiff has been determined to be
totally disabled under the guidelines of the Social Security Administration.
Workers Compensation proceedings are pending.

3. Until November 15, 2010, Plaintiff was working full-time for
American Airlines at the American Airlines Maintenance and Repair Facility in
Tulsa Oklahoma. He has not worked at any occupation whatsoever since the
industrial accident at the American Airlines facility on that date.

PLA]NTIFF PARTICIPATION lN PLAN

4. Plaintiff Remer, at all times pertinent, was a participant within the
meaning of 29 U.S.C. Section 1002 (2) (7) in the group long term disability plan
aforesaid.

JURISDICTION

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5. This court has personal and subject matter jurisdiction over this case
under provision of 29 U.S.C. Section 1132 (e) and (/) because of Defendant’s
breach of its ERISA obligation to Plaintiff Remer.

RESIDENCE AND CITIZENSHIP
6. Plaintiff Remer was at all relevant times a resident and citizen of
Tulsa, Tulsa County, State of Oklahoma.
7. Defendant Hartford has its corporate headquarters at 200
Hoopmeadow Street, Simsbury, CT. 06089.
TIMELINESS OF THIS APPEAL
8. The Policy contains a contractual statute of limitations. At Page 21 of
the Policy, it is provided that legal action cannot be taken against Defendant
Hartford more than three years after the date Proof of Loss is required to be given
according to the terms of the Policy. On June 17, 2011, Transport Workers
Union of America forwarded forms to Remer for a long term disability claim
against Defendant Hartford. Such forms were timely completed by Remer and
receipt was acknowledged by Defendant Hartford on by July 7 2011. This action,
being filed within three years of July 17, 2011, is clearly filed within the
contractual period of limitations set forth in the Policy,

THE ACCRUAL OF THE CAUSE OF ACTION

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9. On August 23, 2012, Defendant Hartford requested additional
information, stating that they did not want to delay Remer’s claim for long term
disability provisions. Such letter asked that Mr. Remer furnish additional
information within 21 days, or by September 13, 2012.

10. In view of the above, Plaintiff maintains that this appeal is completed
within the time limit set forth in the Policy, which would have been, at a minimum,
three years from the date of first claim under the policy, June 7, 2011.

STANDING

11. Plaintiff Remer has standing to bring this action under ERISA 29 U.
S. C. Section 1132 (a).

PLAN DESCRIPTION

12. The Plan is a group disability plan maintained by American Airlines
through Transport Workers Union of America, and fillly insured by the contract of
insurance issued by Defendant Hartford, as aforesaid.

APPLICATION OF PLAN TO PLAINTIFF

13. The Plan’s covered class includes Plaintiff`.

14. As a full time employee, Remer was insured under the Plan.

15. The Policy issued by the Plan provides long term disability benefits
for employees who meet all contractual provisions, including the policy definition

of disability.

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THE DENIAL OF CLAIM

16. On February 20, 2014, Defendant Hartford wrongfully denied the claim
of Remer for long term care, by letter to the attorney for Remer. The denial
purports to be based upon (1) information currently available (2) a co-morbid
review by a nominee of Defendant Hartford, and (3) the policy provisions. The
denial ignored clear evidence of existence of disability, and was rather based on
the co-morbid review of physicians who did nothing but review reports of treating
physicians.

REQUEST FOR EVIDENTIARY HEARING AND TRIAL BY COURT

17. Plaintiff alleges that, under the opinion in Kappos v. Hyatt, 2012 U. S.
Lexis 3107, he is entitled to a trial of the issues limited only by the Federal Rules
of Evidence and the Federal Rules of Civil Procedure, with no deference accorded
to the administrative finding.

WHEREFORE, Plaintiff prays for judgment setting forth that he is entitled
to long term disability payments under the policy, and that he have and recover his

costs herein expended, including reasonable attorney fees.

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